                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


STATE OF GEORGIA,
                                               Case No. 1:23-cv-3721
v.
                                               (Related to:
JEFFREY BOSSERT CLARK,
                                               Case Nos.
DEFENDANT.                                       1:23-cv-03621-SCJ
                                                 1:23-cv-03720-SCJ
                                                 1:23-cv-03792-SCJ
                                                 1:23-cv-03803-SCJ

                                               Judge Steve C. Jones


                                               On removal from the Fulton
                                               County Superior Court

                               NOTICE OF FILING
      Comes now Jeffrey B. Clark, and gives notice of filing of the documents

attached hereto, as follows:

         1.      Deposition of Jeffrey Rosen, Senate Judiciary Committee, Exh. 2

                 Barr Memo on Election Investigations

         2.      Deposition of Jeffrey Rosen, Senate Judiciary Committee, Exh.12

         3.      Deposition of Richard Donoghue, Senate Judiciary Committee,

                 Exh.18

         4.      Executive Order 13848 of September 12, 2018, on Imposing
     Certain Sanctions in the Event of Foreign Interference in a United

     States Election

5.   Report on Foreign Threats to the 2020 U.S. Federal Elections,

     available                                                         at

     https://www.odni.gov/files/ODNI/documents/assessments/ICA-

     declass-16MAR21.pdf (last visited Sep. 13, 2023).

6.   Memo of the ODNI Director John Ratcliffe regarding Report on

     Foreign Threats to the 2020 U.S. Federal Elections, available at

     https://www.washingtonpost.com/context/read-ratcliffe-s-letter-

     accusing-career-analysts-of-underplaying-chinese-influence-in-

     2020-election/bf1f635d-8bbb-4510-b01d-6b86d62bce14/             (last

     visited Sep. 13, 2023).

7.   Report of the Independent IC Analytic Ombudsman's on

     Politicization      of        Intelligence,      available        at

     https://www.washingtonpost.com/context/read-the-ombusdman-

     report-on-politicization-of-intelligence-on-foreign-election-

     threats/5f75b8c6-4ccb-4a09-982a-b8b027856bdf/

8.   About Cybersecurity and Infrastructure Security Agency and

     Election Security

9.   Cybersecurity and Infrastructure Security Agency Statement on


                                   2

                               2
      Election Systems as Critical Infrastructure.

10.   Cybersecurity Advisory: Iranian Advanced Persistent Threat Actor

      Identified Obtaining Voter Registration Data

11.   Cybersecurity and Infrastructure Security Agency Advisory on

      Vulnerabilities Affecting Dominion Voting Systems ImageCast X

12.   Risk Limiting Audits using ARLO Software funded by the

      Department of Homeland Security

13.   About Federal Voter Assistance Program

14.   About UOCAVA

15.   About HAVA

16.   About the Election Assistance Commission

17.   Election Assistance Data Browser Information on Fulton County

      Absentee

18.   Federal Voting Rights Constitutional and Statutory Provisions.

19.   Executive Order 13891 of October 9, 2019, Promoting the Rule of

      Law Through Improved Agency Guidance Documents.

20.   Executive Order 13892 of October 9, 2019 Promoting the Rule of

      Law Through Transparency and Fairness in Civil Administrative

      Enforcement and Adjudication

21.   52 U.S.C. § 20701.


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      Respectfully submitted, this 14 day of September, 2023.

CALDWELL, CARLSON,                         BERNARD & JOHNSON, LLC
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Attorneys for Jeffrey B. Clark




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         CERTIFICATE OF COMPLIANCE WITH L.R. 5.1
      The undersigned hereby certifies that this filing was prepared in the Times

New Roman size 14 font in compliance with L.R. 5.1.

      This this 14 day of September, 2023.

                                     /s/ Harry W. MacDougald
                                     Georgia Bar No. 463076
                                     Attorney for Defendant

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                        CERTIFICATE OF SERVICE
      I certify that a copy of the foregoing Notice of Filing was hereby filed on this

14 day of September, 2023 with the Court’s electronic filing system which causes

service to be made upon all counsel of record.



      This 14 day of September, 2023.

                                       /s/ Harry W. MacDougald
                                       Georgia Bar No. 463076
                                       Attorney for Defendant

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